
197 P.3d 620 (2008)
224 Or. App. 461
STATE of Oregon, Plaintiff-Respondent,
v.
Barbara Lucille TROYER, Defendant-Appellant.
C062008CR; 134476.
Court of Appeals of Oregon.
Submitted October 30, 2008.
Decided December 10, 2008.
*621 Peter Gartlan, Chief Defender, and Louis R. Miles, Deputy Public Defender, Legal Services Division, Office of Public Defense Services, filed the briefs for appellant.
Hardy Myers, Attorney General, Mary H. Williams, Solicitor General, and Douglas F. Zier, Assistant Attorney General, filed the brief for respondent.
Before HASELTON, Presiding Judge, and ARMSTRONG, Judge, and CARSON, Senior Judge.
PER CURIAM.
Defendant was convicted of possession of a controlled substance. ORS 475.894. On appeal, she argues that the trial court erred in denying her motion to suppress evidence, that the trial court committed plain error in admitting into evidence a laboratory report, and that the court erred in entering a conviction because there was no written waiver of her right to a trial by jury. We reject without discussion defendant's argument that the court erred in denying her motion to suppress evidence. The state concedes that the record does not contain a valid waiver of jury trial and that the error requires reversal of defendant's conviction. We agree that the lack of a written jury waiver constitutes reversible error. See generally State v. Taxon, 142 Or.App. 484, 920 P.2d 567 (1996). In light of our conclusion that defendant's conviction must be reversed, we need not reach her assignment of error concerning the admission of the laboratory report.
Reversed and remanded.
